       Case 2:23-cv-04179-WBV-MBN Document 20
                                           19 Filed 07/18/24
                                                    07/11/24 Page 1 of 2
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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA



 WILLIE ANTOINE,                               * CIVIL ACTION NO. 2:23-CV-04179
                                               *
                          Plaintiff            * CHIEF JUDGE: WENDY B. VITTER
 vs.                                           *
  ALLSTATE VEHICLE AND PROPERTY                * MAGISTRATE: MICHAEL NORTH
 INSURANCE COMPANY,
                                               *
                                               *
                          Defendant

                                      MOTION TO WITHDRAW

       NOW INTO COURT, comes undersigned counsel, Heather C. Ford, attorney of record for

the Plaintiff, Willie Antoine, who does hereby request to be withdrawn as a counsel of record.

THEREFORE, counsel asks that this Court withdraw Heather C. Ford as counsel of record. The

Plaintiff last known address is 2025 Watling Dr. Marrero, LA 70072.

Respectfully submitted,

Attorney for Plaintiff

/s/ Heather C. Ford
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       Case
        Case2:23-cv-04179-WBV-MBN
             2:23-cv-04179-WBV-MBN Document
                                    Document19-1
                                             20 Filed
                                                 Filed07/18/24
                                                       07/11/24 Page
                                                                 Page21ofof21




                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA



WILLIE ANTOINE,                               * CIVIL ACTION NO. 2:23-CV-04179
                                              *
                        Plaintiff             * CHIEF JUDGE: WENDY B. VITTER

 vs.                                          *
 ALLSTATE VEHICLE AND PROPERTY                * MAGISTRATE: MICHAEL NORTH
INSURANCE COMPANY,
                                              *
                                              *
                        Defendant


                                       ORDER

______________________________________________________________________________

       IT IS ORDERED that Heather C. Ford removed as counsel of record.

        Louisiana this ________ day of _______, 20___.

                                    ___________________________

                                           JUDGE
